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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division

UNITED STATES OF AMERICA                      :
                                              :       Criminal No. 21-CR-245 (AJT)
                v.                            :
                                              :
IGOR Y. DANCHENKO,                            :
                                              :
                        Defendant.            :


                         THE GOVERNMENT’S MOTION TO SEAL

         Pursuant to Local Criminal Rule 49(E), the United States moves for an Order sealing

the “Government’s Witness List.” A proposed Order is attached for the Court’s consideration.

   I.       Items to be Sealed and Necessity for Sealing

         The Government respectfully requests the Court to seal the “Government’s Witness List”

at this time. Given that this case has garnered significant media attention, the government is

concerned about the potential harassment of its witnesses should they be identified this far in

advance of trial. The government has provided defense counsel with a copy of its witness list.

The government proposes to publicly file its witness list on October 10, 2022. Defense counsel

does not object to this course of action.

   II.      Precedent for Sealing Documents

         The Court has the inherent power to seal materials submitted to it. See United States v.

Wuagneux, 683 F.2d 1343, 1351 (11th Cir. 1982); State of Arizona v. Maypenny, 672 F.2d 761,

(9th Cir. 1982); Times Mirror Company v. United States, 873 F.2d 1210 (9th Cir. 1989); see also

Shea v. Gabriel, 520 F.2d 879 (1st Cir. 1975); United States v. Hubbard, 650 F.2d 293 (D.C. Cir.

1980); In re Braughton, 520 F.2d 765, 766 (9th Cir. 1975). “The trial court has supervisory

power over its own records and may, in its discretion, seal documents if the public’s right of
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access is outweighed by competing interests.” In re Knight Pub. Co., 743 F.2d 231, 235 (4th Cir.

1984).

   III.      Period of Time to Have the Document Under Seal

          The Government respectfully requests that the materials remain under seal until further

order of the Court. Accordingly, the Government respectfully requests that an Order be entered

allowing the aforementioned material to be placed under seal.



                                               Respectfully submitted,

                                               JOHN H. DURHAM
                                               Special Counsel

                                               By:

                                               /s/
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                                      Certificate of Service

       I hereby certify that on the 7th day of October, 2022, I electronically filed a copy of the

foregoing with the Clerk of the Court using the CM/ECF system, which will send a notification

of such filing (NEF) to all counsel of record.

                                                 By:

                                                 /s/
                                                 Michael T. Keilty
                                                 Assistant Special Counsel
                                                 michael.keilty@usdoj.gov
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division

UNITED STATES OF AMERICA                      :
                                              :       Criminal No. 21-CR-245 (AJT)
               v.                             :
                                              :
IGOR Y. DANCHENKO,                            :
                                              :
                       Defendant.             :


                                       ORDER TO SEAL

       This matter having come before the Court on the United States’ Motion to Seal pursuant

to Local Criminal Rule 49(E) and for good cause shown, it is

       ORDERED that the “Government’s Witness List” shall be maintained under seal and will

remain under seal until further order of the Court.



                                              The Honorable Anthony J. Trenga
                                              United States District Judge
